18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 1 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 2 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 3 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 4 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 5 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 6 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 7 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 8 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                   Law in Support of Motion to Dismiss Pg 9 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                  Law in Support of Motion to Dismiss Pg 10 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                  Law in Support of Motion to Dismiss Pg 11 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                  Law in Support of Motion to Dismiss Pg 12 of 13
18-08266-rdd   Doc 9-1 Filed 08/14/18 Entered 08/14/18 12:23:37     Memorandum of
                  Law in Support of Motion to Dismiss Pg 13 of 13
